Case 1:16-cv-04729-KAM-RLM Document 52 Filed 10/23/18 Page 1 of 1 PageID #: 634



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 NATHANIAL ISAAC,

                                                              Plaintiff,     16-CV-4729 (KAM) (RLM)

                               -against-                                     NOTICE OF APPEARANCE
 THE CITY OF NEW YORK, et al.,

                                                          Defendants.

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         PLEASE TAKE NOTICE that ELISSA P. FUDIM, Assistant Corporation Counsel, on

 behalf of the Corporation Counsel of the City of New York, Zachary W. Carter, appears herein

 as counsel of record for defendants.

 Dated: New York, New York
        October 23, 2018
                                                      ZACHARY W. CARTER
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